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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


TOMASA BATALLA,

                Plaintiff,

 v.                                                     Case No. 8:20-cv-00177


CREDIT COLLECTION SERVICES, INC.,

                Defendant.




              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Tomasa Batalla

and Defendant Credit Collection Services, Inc. through their respective counsel that the above-

captioned action shall be and hereby is dismissed, on the merits and with prejudice, pursuant to

Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorneys’ fees.


Dated: August 6, 2020                                 Respectfully Submitted,

TOMASA BATALLA                                        CREDIT COLLECTION SERVICES, INC.

/s/ Alexander J. Taylor                               /s/ Chantel C. Wonder (with consent)
Alexander J. Taylor                                   Chantel C. Wonder
Counsel for Plaintiff                                 Counsel for Defendant
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                      /s/ Alexander J. Taylor
                                                      Alexander J. Taylor




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